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                                                   Court-Appointed Temporary ~ecef;:er fo~ ~ink Mo~on ~~~
Robert W. Seiden Esq.
                                               I   Pursuant to The Honorable
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                                                   District Court, Southern Di'

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                                                                              ELECTRONICALLY FILED
VIA FAX (212) 805-6382                                                        DOC#:
Hon. Victor Marrero
United States Courthouse
United States District Court
Southern District of New York
500 Pearl Street, Suite 1040
New York New York 10007

April 16, 2019

Re: Interim Receiver Report (Baliga v. Link Motion Inc. et al. 1:18-cv-11642)

Dear Honorable Judge Marrero,

        I write to your Honor pursuant to your February I, 2019 Order (the "Order") to
provide an interim status report. Please accept this letter as an interim report on the
receivership activities to date. In addition, I respectfully request that your honor review the
attached invoices of the Receiver and the Receiver's foreign counsel Kobre & Kim, LLP 1
so that payment can be disbursed.
Interim Report
       Pursuant to Section 8 of your Honor's Order, set forth below is a summary of the
key updates since the appointment date.
    1. The Receiver has engaged foreign counsel and a small foreign accounting firm to
       assist in Hong Kong, China, and the Cayman Islands. Specifically, the law firm of
       Kobre & Kim, LLP ("Kobre & Kim") who have offices in the Cayman Islands,
       Hong Kong, and China and an expertise in enforcing US court orders abroad. In
       addition, I have engaged the accounting firm of KLC Corporate Advisory and
       Recovery ("KLC"), a Hong Kong-based accounting and corporate advisory firm
       with expertise in Hong Kong and mainland China. Both of these firms have
       provided invaluable and tireless effort to the Receivership to date. Both have
       commercially reasonable and customary hourly rates, strong compliance programs
       and ethical reputations.




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  Your honor previously approved the engagement agreement ofKobre & Kim LLP in a submission dated,
February 21, 2019.

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                                            Court-Appointed Temporary Receiver for Link Motion Inc.
Robert W. Seiden Esq.                       Pursuant to The Honorable Judge Victor Marrero of the US
                                            District Court, Southern District of New York




  2. Upon the application made by lawyers at Kobre & Kim in Hong Kong on behalf of
     the Receivership, on March 5, 2019, the Hong Kong court by the Deputy High
     Court Judge Maurellet SC of the High Court of the Hong Kong Special
     Administrative Region Court of the First Instance, appointed me and Ms. Lau Wu
     Kwai King (aka Lauren Lau) of KLC as "joint and several receivers of the assets of
     the 1st Defendant [Link Motion, Inc.] in Hong Kong until further order of the
     Court." The matter is captioned In The Matter qf an application for interim relief
     pursuant to Section 21 M of the High Court Ordinance (( 'ap. 4) BETWEEN Robert
      W. Seiden (IN HIS CAPACITY AS TEMPORARY RECEIVER OF LINK M0110N
     INC.). and LINK MOTION INC. { JS' Defendant], VINCENT WENYONG SHI
     {2 nd Defendant], JIA LIAN {3 rd Defendant/, XIAO YU {4'h Defendant/.
  3. The Receiver, upon the advice of U.S. counsel recently filed a required form 6-K
     with the SEC in order to report that a receiver had been appointed in New York and
     Hong Kong over Link Motion, Inc.
  4. On April 3, 2019, on advice of counsel, the Receiver filed a statutory demand on
     TongFang Investment Fund Series, SPC {"TongFang") at its registered office in the
     Cayman Islands. TongFang owes over $270 million on a promissory note to Link
     Motion, Inc.
  5. The Receiver, on advice of Hong Kong counsel, notified the Hong Kong
     International Arbitration Centre ("HKIAC") that a receiver has been appointed for
     Link Motion, Inc. in both the United States and Hong Kong. This was in response
     to a ongoing arbitration at the HKIAC that Link Motion, Inc. heretofore had not
     responded to.
  6. The Receiver, upon advice of counsel, sent formal letters to government offices in
     China and to commercial partners of Link Motion, Inc. in the United States
     notifying them of the Receivership Order in the U.S. and Hong Kong.
  7. The Receiver, upon the advice of counsel, has requested a stay m a Texas
     employment related lawsuit against Link Motion, Inc. This has been stipulated to by
     both sides.
  8. The Receiver and his counsel are investigating a pending legal preceding brought
     by Link Motion, Inc. in Brazil to determine what if any value may be gleaned from
     this on behalf of Link Motion, Inc. According to Brazilian counsel, Link Motion,
     Inc. had heretofore failed to respond to them.

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                                            District Court, Southern District of New York



  9. The Receiver sent formal letters to former and current directors and officers of Link
     Motion, Inc. seeking information, assistance and their compliance with the Order.
     Some are now assisting the work of the receivership.
  10. The Receiver, upon advice of counsel, sent a formal letter to Link Motion, Inc.'s
      board members informing them of Vincent Shi's removal and appointment of a
      respected businessman (and Link Motion, Inc. shareholder), Mr. Francis Guo, as
      interim Chairman of Link Motion, Inc. Mr. Guo has been invaluable in assisting the
      Receivership, working hundreds of hours with Kobre & Kim and KLC and
      providing insight and information into Link Motion Inc. 's status and operations in
      Hong Kong and mainland China.
  11. The Receiver and his lawyers have investigated the legal and operational status of
      Link Motion, Inc. in China and the proper means to preserve the Chinese assets and
      entities. The Receiver has attempted on many occasions to communicate directly or
      through intermediaries with Vincent Shi, but he has rebuffed every attempt.
  12. The Receiver and his counsel have taken formal control of Link Motion, Inc.'s
      Hong Kong subsidiary and, importantly, this has been officially recognized by the
      Hong Kong Company Registry offices. This accomplishment was no easy task and
      required dozens of hours, expense and travel by several of the Receivership
      professionals.
  13. The Receiver, upon advice of counsel, requested that certain Hong Kong and
      Cayman Islands banks with funds of Link Motion, Inc. freeze those accounts and
      remit funds to be preserved in the Receivership escrow trust account. Several of
      these banks have complied.
  14. The Receiver has fielded many calls, emails, and letters from Company creditors.
  15. The Receiver has received and responded to many texts, calls, and emails from
      current employees of Link Motion, Inc., most of whom have reported that Vincent
      Shi has or is in the process of removing computers, valuable records, files, and
      assets of the Company. Several have and or are willing to provide sworn statements
      to this effect.
  16. The Receiver has fielded calls and emails from many U.S. shareholders who have
      expressed grave concern about the status of the company in China.




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                                                   District Court, Southern District of New York




Receivership Account and Invoices
        Section 5 of your Honor's Order provides for a bank account "to fund the
Receivership including the compensation and expenses of the Receiver, which are subject
to the approval of the Court." The Court ordered that Link Motion, Inc. "cooperate with the
Receiver in establishing and funding the Receivership Account" with a minimum balance
of $100,000. Link Motion, Inc. has not complied with this order and have provided no
funds. This is a very distressing circumstance.
        Section 6 of your Honor's Order specifically states: "The Receiver and his
professionals shall be paid on an hourly basis at a reasonable and customary rate for such
work to be approved by the Court and paid promptly out of the Receivership Estate ...
Payment of the Receiver's compensation and expenses shall have priority over all other
obligations, payments, or distributions of the Company."
       The Receiver respectfully requests that the attached invoices be reviewed by your
Honor, and subject to your approval, permit the Receiver to disburse payment of invoices
to professionals and the Receiver who have been working tirelessly on this matter since
February l, 2019. The Receiver has carefully reviewed each invoice and believes they are
fair and reasonable under the circumstances. The Receiver respectfully requests this
Court's approval to pay the invoices from the Link Motion, Inc. funds that have been
received in the Receiver escrow trust account.



Respectfully submitted,




Robert W. Seiden, Esq.
Court-Appointed Temporary Receiver for
Link Motion, Inc.



                           The Clerk of Court is directed to enter into the public record
                           of this action the letter above submitted to the Court by z,/-R
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